                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
United States of America,                       )
                                   Plaintiff,   )
                                                )
vs.                                             ) Case No. 05-0105-02-CR-W-FJG
                                                )
Hernandez D. Green,                             )
                                   Defendant.   )

                                            ORDER
       Pending before the Court is the issue of defendant’s competency. On April 29,
2005, defendant filed a motion for determination of competency (Doc. #62). The United
States also filed a motion for determination of competency and sanity (Doc. #64, filed May
2, 2005). Thereafter, on August 10, 2005, Chief Magistrate John T. Maughmer held a
hearing regarding defendant’s competency at which time the parties stipulated to a report
prepared by Jason V. Dana, Ph.D. That report concluded that defendant does not appear
to suffer from any severe mental disease or defect, and that he appears to be appropriate
for continuation of judicial proceedings.
       Chief Magistrate Maughmer issued a report and recommendation (Doc. #88), filed
August 16, 2005, finding that defendant is competent to understand the nature and
consequence of the proceedings against him and to assist properly in his defense. No
objections to the report and recommendation were filed.
       The Court, after independent review of the record and applicable law, finds that
defendant is not currently suffering from a mental disease or defect which would prevent
him from understanding the nature and consequences of the proceedings against him or
assist in his own defense.
       IT IS SO ORDERED.


                                                /s/Fernando J. Gaitan, Jr.
                                                Judge Fernando J. Gaitan, Jr.
                                                United States District Judge

Dated: September 9, 2005
Kansas City, Missouri
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